                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                              CRIMINAL MINUTES – JURY TRIAL
                                                    Day 7

  Case No.: 4:18CR00011                                        Date: 10/15/2019


  Defendant:                                                Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                  Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.           Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent              Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent               Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles             Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler             Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                 Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)           Corey Diviney




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           9:23-9:34, 9:45-10:31, 10:56-3:11, 3:34-4:34 6h 12m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI TFO Pittsylvania County
                 Interpreter:             none


                                         LIST OF WITNESSES

      GOVERNMENT                                            DEFENDANT
    1.                                                 1.




  PROCEEDINGS:
       2 jurors struck for cause/hardship.
       14 struck jurors struck by Government.
       8 jurors struck by Defense.
       18 (12 jurors + 6 alternates) jurors remain after strikes.



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          Preliminary remarks and instructions to jury by Court.
          United States of America or Defendant makes oral Motion to Exclude Witnesses from
          Courtroom. Court grants motion.
          Opening Statements by counsel.
          Government presents evidence.
          Government rests.
          Defendant makes Motion for Judgment of Acquittal.
          Court      grants     denies     takes under advisement.
          Defendant presents evidence.
          Defendant rests.
          Defendant renews Motion for Judgment of Acquittal.
          Court      grants     denies     takes under advisement.
          Rebuttal evidence.
          Surrebuttal evidence.
          Closing Arguments.
          Jury Instructions given to Jury.
          Objections to Jury Instructions by U.S.A and/or Defendant.
          Court      overrules     grants.
          Jury retires to deliberate at Time retired.
          Jury returns at Time returned.
          Jury Verdict: Verdict?
                  Jury polled.                           Polling waived.
                  Mistrial declared.                     Jury discharged.

          Motions after verdict:
          Sentencing set for ______.
          Sentencing to be set by Clerk.
          Court orders Presentence Report.
          Defendant remanded to custody.
          Defendant to remain on bond.


   Additional Information:

  US addresses issue of victim wanting to be present for opening, will testify later on – statutorily
  allowed. Jury enters courtroom 9:50. Dft 4 has issue with US first strike – Dft 4 makes Batson
  Challenge re #39. US responds, reasons stated on record. Dft 1 joins motion, reasons stated on
  record. Dft 3 joins, reasons stated on record. Dft 2 joins, for reasons stated on record. Dft 5
  joins, reasons stated on record. Court notes issue is sufficient race neutral articulation for reason
  for strike. Dft 6 joins, reasons stated on record, reserves right to raise issue after jury selection.
  US responds, as stated on record. Court asks court reporter for rough draft of voir dire of juror in
  question. Recess 10:31 Reconvene 10:56 Court addresses parties re Batson Challenge as stated
  on record, gives case cites to counsel. Court overrules Batson Challege, subject to balance of the
  strikes going forward. Jury returns 11:07, strikes continue. Jury removed. Defense motion, #19
  Batson Challenge for reasons stated. US responds. Court overrules. US Batson Challenge, all 8
  defense strikes (18, 25, 27, 33, 44, 35, 20, 40), reasons stated on record. Dft 4 responds, in order.
  US responds – pre-textual, as stated. Court overrules – strikes will be evaluated. Court will send
  jury to lunch, return at 1:30pm. Defense Batson Challenge #8. US responds, as stated on record.
  Defense responds – pre-textual. Court directs court reporter to email voir dire rough draft of that
  juror. US clarifies. Court overrules objection at this time. Jury selection continues. Defense
  Batson Challenge for #45. US responds. Court finds US has articulated race-neutral explanation,
  asks court reporter to provide voir dire. Court notes on #8 that US didn’t question this juror at all
  during voir dire. As to #39 – court notes US stated reasons, no mention of forgiveness in court
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  reporter  rough. Parties continue Document      922 Dft
                                      selecting panel.  Filed  10/15/19
                                                           4 makes   BatsonPage    2 of 3#10.
                                                                              Challenge     Pageid#:
                                                                                               US       6061
  responds. Court asks court reporter to provide rough draft of voir dire for #10. Court has
  comments for parties, asks parties to complete selection of alternates. Dft 4 renews motions on
  Batson Challenges previously raised, noting #8. Dft 4 moves/asks that all challenged strikes be
  reinstated. Dft 2 comments, joins motion. Court asks Dft 2 what remedy he seeks. Dft states
  proper remedy would be to release this jury and set this trial over to January with the other case.
  Dft 1, Dft 5 and Dft 6 respond as stated. Dft 6 agrees that this jury needs to be dismissed and
  case to start over. Dft 6 notes #8 and #39, but cannot put them back on jury at this point. Dft 8
  responds – joins motions. Dft 10 joins, same remedy. Dft 3 joins, same remedy. Dft 5 joins,
  suggest putting jurors back. Dft 4 joined and suggesting putting jurors back but also open to set
  new trial. US responds. Court questions US re #8 – US explains as stated. US addresses #39
  briefly. US states struck less than 50% African Americans between strikes/alternates. 8 of 40
  jurors today were African American, 20%, and jury that would be seated today would have 25%
  African Americans – US believes fair jury can be seated. Recess 3:11 Reconvene 3:34 Court
  addresses parties re Batson Challenges as stated on record. The court overrules in their entirety
  the Batson Challenges in this case, as stated on the record, and will seat this jury. Dfts
  objections are noted. Jury returns 3:50. Jury seated. Jury released for day 4:10, to return for
  start of trial at 9:30am.

  Dft 3 asks the court to not allow US to use trial exhibits during opening statements. Dft 10 filed
  objections at 587 – not responded to by court. Dft 6 addresses govt witnesses, and how parties
  are to exchange those names. Dft 4 has his juror information on a hard drive – court directs to
  delete that information, but counsel may keep/preserve their notes that they may need for appeal
  purposes. Dft 1 had some information on hard drive also, will dispatch similarly. Any counsel in
  same position should delete. Dft 8 will file a motion for judicial notice of certain events that
  happened in this courtroom last week. Dft 5 joins Dft 3 motion re opening statement exhibits.
  Court asks US to address. US does intend to use power point that has trial exhibits. Dft 3
  responds, concerned with cross. Court will proceed with opening statements and if objs raised,
  court will deal with. US will not provide power point to defense. Dft 4 would prefer transcripts
  and US response re Ferguson hearing. US expects less than one hr, court would like all openings
  done in a.m., with evidence to start in afternoon. Court directs US to give witness list.
  Recess 4:22 Counsel back on record 4:24. Adjourn 4:34




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